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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

KAREN FINN, et al.                          :
                                            :
         Plaintiffs,                        :        Civil Action File No.:
vs.                                         :        22-cv-2300-ELR
                                            :
COBB COUNTY BOARD OF                        :
ELECTIONS AND REGISTRATION,                 :
et al.                                      :
                                            :
         Defendants.                        :
                                            :

COBB COUNTY ELECTION DEFENDANTS’ RESPONSE IN OPPOSITION
  TO PLAINTIFFS’ MOTION TO REVISE THE SCHEDULING ORDER

         Defendants Cobb County Board of Elections and Registration and Janine

Eveler, in her former official capacity as Elections Director for Cobb County,

(collectively “Elections Defendants”) file this response in opposition to Plaintiffs’

Motion to Revise the Scheduling Order. [Doc. 156].

         Election Defendants join generally in the Response in Opposition filed by the

Cobb County School District [Doc. 163] and state more specifically that the Plaintiffs

should not be granted an order giving them more time to complete expert discovery

when it was their delay in disclosing their experts that caused the delay in the first

place.     Additionally, Plaintiffs should not be granted an order permitting an

accelerated schedule for filing motions for preliminary injunction over a year and a
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half into the case. Plaintiffs have had plenty of time to file such a motion and their

delay in doing so should not penalize the Election Defendants and the School District.

Lastly, Election Defendants object to moving on to a motion for preliminary

injunction without first having the opportunity to file motions for summary judgment.

Discovery is almost complete and motions for summary judgment would likely

resolve the legal issues for Election Defendants without the time and expense of

briefing and hold hearings for a motion for injunctive relief. For all of these reasons,

Elections Defendants oppose Plaintiffs’ Motion to Revise the Scheduling Order.

      Respectfully submitted this 28th day of August, 2023.



                                        HAYNIE, LITCHFIELD & WHITE, PC

                                        /s/Daniel W. White______
                                        DANIEL W. WHITE
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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 28, 2023 I electronically filed the foregoing

COBB COUNTY ELECTION DEFENDANTS’ RESPONSE IN OPPOSITION TO

PLAINTIFFS’ MOTION TO REVISE THE SCHEDULING ORDER with the Clerk

of Court using the CM/ECF system which will automatically send email notification

of such filing to all attorneys of record in this matter:


                                         /s/ Daniel W. White
                                         DANIEL W. WHITE
                                         Georgia Bar No. 153033
                                         Attorney for Cobb County Election
                                         Defendants


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